     Case 4:21-cv-06338-JST          Document 276       Filed 04/25/25      Page 1 of 12



 1   Richard Heimann (CA State Bar # 063607)
     Nimish R. Desai (CA State Bar # 244953)
 2   LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
     275 Battery St., 29th Fl
 3   San Francisco, CA 94111-3339
     Telephone: 415-956-1000
 4   Facsimile: 415-956-1008
     rheimann@lchb.com
 5   ndesai@lchb.com
 6   David Stellings (pro hac vice)
     Katherine I. McBride (pro hac vice)
 7   Jessica A. Moldovan (pro hac vice)
     LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
 8   250 Hudson Street, 8th Floor
     New York, NY 10013
 9   Telephone: 212.355.9500
     Facsimile: 212.355.9592
10   dstellings@lchb.com
     kmcbride@lchb.com
11   jmoldovan@lchb.com
12   Attorneys for Plaintiffs
13   [Additional counsel listed on signature page]
14                                  UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16

17    JAMES MILSTEAD, et al.,                          Case No. 4:21-cv-06338-JST

18                    Plaintiffs,                      JOINT CASE MANAGEMENT
                                                       STATEMENT
19           v.
                                                       Date: May 2, 2025
20    GENERAL MOTORS LLC, et al.,                      Time: 1:30pm
                                                       Judge: Hon. Jon S. Tigar
21                    Defendants.
22           Pursuant to the Court’s scheduling order (ECF 264) the parties submit the following joint
23   case management statement in advance of the case management conference scheduled for May 2,
24   2025.
25   I.      Status of Discovery
26           Aside from the motion for protective order filed by non-party Aptiv, no discovery issues
27   require resolution by the Court at this time.
28

                                                                         JOINT CASE MANAGEMENT STATEMENT
                                                     -1-                                   4:21-CV-06338-JST
     Case 4:21-cv-06338-JST            Document 276       Filed 04/25/25      Page 2 of 12



 1          1.         On April 8, 2025, the Court referred all discovery matters to the Honorable
 2   Magistrate Judge Thomas S. Hixon. ECF Nos. 265, 271. The parties continue to work to try to
 3   resolve or narrow any discovery disputes as they continue to prepare the case, including as
 4   follows:
 5          2.         Plaintiffs served their first set of Requests for Production (RFPs) on GM on
 6   November 22, 2023. GM served responses and objections on December 22, 2023. Plaintiffs have
 7   reviewed GM’s productions in response to the first set of RFPs. The parties will continue to meet
 8   and confer about GM’s responsive productions, as necessary.
 9          3.         Plaintiffs served their second set of RFPs on GM on March 18, 2024. GM served
10   its responses on April 22, 2024. After reviewing GM’s responses to the second set of RFPs,
11   Plaintiffs served a subpoena on Aptiv, as discussed below. The parties will continue to meet and
12   confer as necessary.
13          4.         Plaintiffs served their third and fourth set of RFPs on GM on May 20, 2024. GM
14   served their responses and objections to Plaintiffs’ third set of RFPs on July 19, 2024, and their
15   responses and objections to Plaintiffs’ fourth set of RFPs on July 26, 2024. The parties will
16   continue to meet and confer as necessary.
17          5.         GM made rolling document productions on May 20 and 29, 2024, June 6 and 27,
18   October 10, 2024, and most recently made a production on December 23, 2024; GM will continue
19   to make productions on a rolling basis. To date, GM has produced over 1 million pages of
20   documents responsive to Plaintiffs’ RFPs, as well as two hard drives containing over 250 GB of
21   technical data.
22          6.         GM has not yet commenced productions of emails or ESI from its custodial
23   collections in response to Plaintiffs’ RFPs set three and four. On August 12, 2024, GM provided
24   Plaintiffs with its initial list of ten proposed document custodians, and the parties commenced
25   several months of negotiations, information exchanges, and proposals to work towards agreement
26   on GM’s document custodians. The parties ultimately reached agreement on 25 GM document
27   custodians on March 27, 2025.
28

                                                                           JOINT CASE MANAGEMENT STATEMENT
                                                       -2-                                   4:21-CV-06338-JST
     Case 4:21-cv-06338-JST          Document 276        Filed 04/25/25      Page 3 of 12



 1          7.      The parties anticipate further meet and confer efforts will be needed on GM’s
 2   search term disclosures, which GM first provided to Plaintiffs on January 10, 2025. Plaintiffs
 3   responded with a counterproposal on February 19, 2025. GM ran hit reports on Plaintiffs’
 4   proposed search terms/strings and tested the number of documents that “hit” on particular terms.
 5   Because the parties were in the process of negotiating (and adding) document custodians, GM
 6   needed to load significant quantities of additional data to a review database, where it could test
 7   the search terms. Although GM continued to collect and process data through April, on April 17,
 8   2025, GM responded to Plaintiffs’ counterproposal with additional revisions. On April 25, 2025,
 9   Plaintiffs responded to GM with a further counterproposal and to request additional information
10   regarding hit reports for GM’s proposed search terms/strings and whether GM performed any
11   sampling of non-hit documents (via control sets or random sampling) to determine whether
12   responsive ESI was inadvertently being omitted, helping to improve recall. The parties will make
13   best efforts to agree on GM’s search terms or identify areas of disagreement by May 9, 2025.
14          8.      Plaintiffs have raised with GM that they may seek to take a Rule 30(b)(6)
15   deposition regarding corporate structure, ESI preservation, and data sources to identify relevant
16   custodians, third parties, and learn about the manner and methods used by GM to store and
17   maintain ESI. GM reserves all rights to oppose any such deposition. The parties will continue to
18   meet and confer regarding custodial searches.
19          9.      Plaintiffs served their first set of Interrogatories on GM on July 17, 2024. GM
20   requested extensions on the response date, which Plaintiffs granted as a professional courtesy.
21   During the extension period, GM requested, and plaintiffs agreed to meet and confer to address
22   objections to the Interrogatories prior to service of responses and objections. Following those
23   conferrals, GM served its responses and objections on September 13, 2024. The parties will
24   continue to meet and confer as necessary, including for supplementation as discovery proceeds.
25          10.     Plaintiffs served a subpoena to produce documents on third party Aptiv (formerly
26   known as Delphi/Delco) on May 20, 2024. Plaintiffs and Aptiv negotiated and agreed to use
27   model year 2012 as a test production to inform and narrow, where possible, the scope of future
28   productions for all other model years. On August 9, 2024, Aptiv made its first production, which

                                                                          JOINT CASE MANAGEMENT STATEMENT
                                                     -3-                                    4:21-CV-06338-JST
     Case 4:21-cv-06338-JST           Document 276        Filed 04/25/25      Page 4 of 12



 1   Plaintiffs reviewed and used to inform their continued negotiations with Aptiv regarding the
 2   scope of materials to produce and the priority vehicle platforms. Aptiv thereafter commenced
 3   rolling productions for remaining model years (1999-2011, 2013-2018). Aptiv has made several
 4   rolling productions, including most recently on December 19, 2024. Plaintiffs are reviewing and
 5   assessing Aptiv’s initial productions, including to inform the scope of subsequent productions in
 6   response to Plaintiffs’ subpoena, and have raised the need for Aptiv to provide additional
 7   metadata in the existing production. Plaintiffs will continue to follow up with Aptiv on its
 8   subpoena response and the resulting productions received.
 9           11.      After reviewing Aptiv’s production to Plaintiffs, GM separately served a subpoena
10   on Aptiv. Despite GM’s and Aptiv’s good-faith efforts, they were unable to resolve disputes over
11   the subpoena. On April 7, 2025, Aptiv filed a motion for protective order. See ECF No. 267, as
12   revised at ECF No. 270. On April 21, 2025, GM filed its response to Aptiv’s motion. ECF Nos.
13   272, 273, 274. The hearing on Aptiv’s motion is set for May 15, 2025 before Magistrate Judge
14   Hixson. ECF No. 269.
15           12.      GM served its first set of RFPs and Interrogatories as to each named Plaintiff on
16   April 10, 2024. Plaintiffs served their responses and objections to the RFPs on May 10, 2024, and
17   their responses and objections to the Interrogatories on May 24, 2024. The parties exchanged
18   written correspondence regarding Plaintiffs’ responses and objections and held a meet-and-confer
19   call via video conference, where the parties resolved several disputes. Plaintiffs made their initial
20   document production in response to GM’s first set of RFPs on July 12, 2024, and have made
21   subsequent productions on September 30, 2024, and March 28, 2025. To date, Plaintiffs have
22   produced 86 documents totaling 421 pages. Plaintiffs will continue to make productions on a
23   rolling basis.
24           13.      Plaintiffs agreed to and did provide supplemental interrogatory responses
25   reflecting the resolved disputes referenced above. Plaintiffs served supplemental responses on
26   March 26 and March 28, 2025. GM continues to review Plaintiffs’ supplemental responses and
27   additional productions and will meet and confer with Plaintiffs as needed.
28

                                                                           JOINT CASE MANAGEMENT STATEMENT
                                                      -4-                                    4:21-CV-06338-JST
     Case 4:21-cv-06338-JST          Document 276         Filed 04/25/25      Page 5 of 12



 1          14.     In connection with Plaintiffs’ production, plaintiff James Milstead produced his
 2   vehicle purchase agreement, which contained an arbitration clause. As asserted in GM’s
 3   affirmative defenses to Plaintiffs’ Third Amended Complaint, GM anticipates that many absent
 4   class members purchased their vehicles subject to sales contracts that contain arbitration clauses.
 5   See ECF 214 at 34 (GM. Aff. Defense No. 23). GM has advised Plaintiffs that based on the
 6   individualized circumstances of Mr. Milstead’s purchase and the claims he asserts, it does not
 7   intend to move to compel him to arbitration based on his purchase agreement. GM’s position is
 8   subject to change based on further developments during fact discovery or amendments to the
 9   pleadings, if any. GM further reserves its rights to raise arbitration issues in opposition to
10   Plaintiffs’ Class Certification Motion or in support of or in response to any other motion as
11   appropriate. Plaintiffs are not presently aware of any valid grounds for arbitration of the claims in
12   this litigation and reserve their rights to oppose any such defenses or attempts to compel
13   arbitration when and if GM raises them.
14          15.     The parties have conferred about their anticipated subjects of discovery in this
15   matter. See ECF 216 at 6-7 (presenting the parties’ positions on anticipated discovery).
16          16.     GM anticipates serving additional discovery on and deposing the named Plaintiffs.
17   GM served document subpoenas on Chris Caruso, and Sal Fariello. GM has received initial
18   objections or responses from Mr. Caruso and Mr. Fariello and anticipates additional meet-and-
19   confers to resolve disputes regarding same. GM anticipates seeking depositions after receiving
20   any document productions. GM further anticipates serving discovery on and/or deposing certain
21   third parties, including absent class members. Plaintiffs reserve their rights to object and move to
22   quash or limit such third party discovery at the appropriate time.
23          17.     Plaintiffs’ Counsel, who represent Mr. Caruso in connection with responding to
24   GM’s document subpoena, agreed to accept service on Mr. Caruso’s behalf. Plaintiffs’ Counsel
25   then served responses and objections for Mr. Caruso on March 24, 2025. Counsel will meet and
26   confer as necessary on these responses. Plaintiffs separately reserve their rights to object and
27   move to quash and/or limit GM’s subpoena as to Mr. Caruso should it become necessary during
28   the meet-confer process on Mr. Caruso’s responses.

                                                                           JOINT CASE MANAGEMENT STATEMENT
                                                      -5-                                    4:21-CV-06338-JST
     Case 4:21-cv-06338-JST        Document 276        Filed 04/25/25      Page 6 of 12



 1           18.   The parties have not otherwise discussed specific discovery that is not yet
 2   propounded at this time.
 3   II.     Other Issues
 4           19.   The parties do not have other matters or disputes requiring the Court’s attention at
 5   this time.
 6
      Dated: April 25, 2025            Respectfully submitted,
 7

 8                                     By: /s/ Roland Tellis
                                          Roland Tellis (CA Bar #186269)
 9                                        David Fernandes (CA Bar #280944)
                                          Adam Tamburelli (CA Bar #301902)
10                                        BARON & BUDD, P.C.
11                                        15910 Ventura Boulevard, Suite 1600
                                          Encino, California 91436
12                                        Telephone: (818) 839-2333
                                          Facsimile: (818)-986-9698
13                                        rtellis@baronbudd.com
                                          dfernandes@baronbudd.com
14
                                          atamburelli@baronbudd.com
15
                                           David Stellings (pro hac vice)
16                                         Katherine I. McBride (pro hac vice)
                                           Jessica A. Moldovan (pro hac vice)
17                                         LIEFF CABRASER HEIMANN
                                           & BERNSTEIN, LLP
18
                                           250 Hudson Street, 8th Floor
19                                         New York, NY 10013
                                           Telephone: 212.355.9500
20                                         Facsimile: 212.355.9592
                                           dstellings@lchb.com
21                                         kmcbride@lchb.com
22                                         jmoldovan@lchb.com

23

24

25

26

27

28

                                                                        JOINT CASE MANAGEMENT STATEMENT
                                                   -6-                                    4:21-CV-06338-JST
     Case 4:21-cv-06338-JST   Document 276    Filed 04/25/25        Page 7 of 12



 1                                 Richard Heimann (CA Bar # 063607)
                                   Nimish R. Desai (CA Bar # 244953)
 2                                 LIEFF CABRASER HEIMANN
 3                                 & BERNSTEIN, LLP
                                   275 Battery St., 29th Fl.
 4                                 San Francisco, CA 94111-3339
                                   Telephone: 415-956-1000
 5                                 Facsimile: 415-956-1008
                                   rheimann@lchb.com
 6
                                   ndesai@lchb.com
 7
                                   Christopher A. Seeger (pro hac vice)
 8                                 Christopher L. Ayers (pro hac vice)
                                   Steven J. Daroci (pro hac vice)
 9                                 SEEGER WEISS LLP
10                                 55 Challenger Road, 6th Floor
                                   Ridgefield Park, NJ 07660
11                                 Telephone: (973) 639-9100
                                   Facsimile: (973) 639-9393
12                                 cseeger@seegerweiss.com
                                   cayers@seegerweiss.com
13
                                   sdaroci@seegerweiss.com
14
                                   Shauna Itri (pro hac vice)
15                                 SEEGER WEISS LLP
                                   1515 Market Street, Suite 1380
16                                 Philadelphia, PA 19102
17                                 Telephone: (215) 564-2300
                                   Facsimile: (215) 851-8029
18                                 sitri@seegerweiss.com

19                                 Co-Lead Counsel for Plaintiffs and
                                   the proposed Class
20

21

22

23

24

25

26

27

28

                                                               JOINT CASE MANAGEMENT STATEMENT
                                           -7-                                   4:21-CV-06338-JST
     Case 4:21-cv-06338-JST   Document 276     Filed 04/25/25      Page 8 of 12



 1                                 W. Daniel “Dee” Miles, III (pro hac vice)
                                   H. Clay Barnett, III (pro hac vice)
 2                                 J. Mitch Williams (pro hac vice)
 3                                 Rebecca D. Gilliland (pro hac vice)
                                   Dylan T. Martin (pro hac vice)
 4                                 BEASLEY, ALLEN, CROW,
                                   METHVIN, PORTIS & MILES, P.C.
 5                                 272 Commerce Street
                                   Montgomery, AL 36104
 6
                                   Telephone: (334) 269-2343
 7                                 Dee.Miles@beasleyallen.com
                                   Clay.Barnett@beasleyallen.com
 8                                 Mitch.Williams@beasleyallen.com
                                   Rebecca.Gilliland@beasleyallen.com
 9                                 Dylan.Martin@beasleyallen.com
10
                                   David M. Birka-White (CA Bar # 85721)
11                                 BIRKA-WHITE LAW OFFICES
                                   178 E. Prospect Avenue
12                                 Danville, CA 94526
                                   Telephone: (925) 362-9999
13
                                   dbw@birka-white.com
14
                                   James E. Cecchi (pro hac vice)
15                                 Caroline F. Bartlett (pro hac vice)
                                   CARELLA, BYRNE, CECCHI,
16
                                   OLSTEIN, BRODY & AGNELLO, P.C.
17                                 5 Becker Farm Road
                                   Roseland, New Jersey 07068
18                                 Telephone: (973) 994-1700
                                   Facsimile: (973) 994-1744
19                                 jcecchi@carellabyrne.com
20                                 cbartlett@carellabyrne.com

21                                 Joseph H. Meltzer (pro hac vice)
                                   Melissa L. Troutner (pro hac vice)
22                                 KESSLER TOPAZ
                                   MELTZER & CHECK, LLP
23
                                   280 King of Prussia Road
24                                 Radnor, PA 19087
                                   Telephone: (610) 667-7706
25                                 Facsimile: (610) 667-7056
                                   jmeltzer@ktmc.com
26                                 mtroutner@ktmc.com
27

28

                                                                JOINT CASE MANAGEMENT STATEMENT
                                           -8-                                    4:21-CV-06338-JST
     Case 4:21-cv-06338-JST   Document 276     Filed 04/25/25      Page 9 of 12



 1                                 Charles E. Schaffer (pro hac vice)
                                   David C. Magagna Jr. (pro hac vice)
 2                                 LEVIN, SEDRAN & BERMAN, LLP
 3                                 510 Walnut Street, Suite 500
                                   Philadelphia, PA 19106
 4                                 cschaffer@lfsblaw.com
                                   dmagagna@lfsblaw.com
 5
                                   E. Powell Miller (pro hac vice)
 6
                                   THE MILLER LAW FIRM, P.C.
 7                                 950 West University Drive, Suite 300
                                   Rochester, MI 48307
 8                                 Telephone: (248) 841-2200
                                   Facsimile: (248) 652-2852
 9                                 epm@millerlawpc.com
10
                                   Jason P. Sultzer, Esq. (pro hac vice)
11                                 THE SULTZER LAW GROUP P.C.
                                   270 Madison Avenue, Suite 1800
12                                 New York, NY 10016
                                   Tel: (845) 483-7100
13
                                   Fax: (888) 749-7747
14                                 sultzerj@thesultzerlawgroup.com

15                                 Counsel for Plaintiffs and the proposed Class
16    Dated: April 25, 2025     Respectfully submitted,
17
                                By: /s/ Renee D. Smith
18                                  Renee D. Smith (admitted pro hac vice)
                                    Jeremy Roux (admitted pro hac vice)
19                                  Sam Ikard (admitted pro hac vice)
                                    KIRKLAND & ELLIS LLP
20                                  333 West Wolf Point Plaza
                                    Chicago, Illinois 60654
21                                  Telephone: (312) 862-2310
                                    Facsimile: (312) 862-2200
22                                  renee.smith@kirkland.com

23                                 Abirami Gnanadesigan, State Bar No. 263375
                                   DYKEMA GOSSETT LLP
24                                 444 South Flower Street, Suite 2200
                                   Los Angeles, California 90071
25                                 Telephone: (213) 457-1800
                                   Facsimile: (213) 457-1850
26                                 AGnanadesigan@dykema.com
27

28

                                                                JOINT CASE MANAGEMENT STATEMENT
                                           -9-                                    4:21-CV-06338-JST
     Case 4:21-cv-06338-JST   Document 276     Filed 04/25/25     Page 10 of 12



 1                                  Michael P. Cooney (admitted pro hac vice)
                                    DYKEMA GOSSETT LLP
 2                                  39577 Woodward Avenue, Suite 300
                                    Bloomfield Hills, MI 48304
 3                                  Telephone: (248) 203-0700
                                    Facsimile: (248) 203-0763
 4                                  mcooney@dykema.com
 5                                  Justin B. Weiner (admitted pro hac vice)
                                    BUSH SEYFERTH PLLC
 6                                  100 W. Big Beaver Rd.
                                    Troy, MI 48084
 7                                  Telephone: (248) 822-7800
                                    Facsimile: (248) 822-7000
 8                                  weiner@bsplaw.com
 9                                 Attorneys for General Motors LLC, General Motors
10                                 Holdings LLC and General Motors Company

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                JOINT CASE MANAGEMENT STATEMENT
                                           - 10 -                                 4:21-CV-06338-JST
     Case 4:21-cv-06338-JST        Document 276         Filed 04/25/25      Page 11 of 12



 1                           ATTESTATION (CIVIL LOCAL RULE 5-1(i)(3))
 2          In accordance with Civil Local Rule 5-1(i)(3), I attest the concurrence in the filing of this

 3   document has been obtained from the signatories.

 4
     Dated: April 25, 2025                 /s/ Roland Tellis
 5                                         Roland Tellis
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                          JOINT CASE MANAGEMENT STATEMENT
                                                    - 11 -                                  4:21-CV-06338-JST
     Case 4:21-cv-06338-JST         Document 276        Filed 04/25/25     Page 12 of 12



 1                                    CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on April 25, 2025, a true and correct copy of the foregoing was

 3   electronically filed and served electronically via the Court’s CM/ECF system, which will

 4   automatically serve notice to all registered counsel of record.

 5
                                                   /s/ Roland Tellis
 6                                                 Roland Tellis
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                         JOINT CASE MANAGEMENT STATEMENT
                                                    - 12 -                                 4:21-CV-06338-JST
